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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTI{ERN DISTRICT OF MISSESIPPI


UNITED STATES OF AMERICA


V.                                                                    CRIMINAL NO. 3 .2I -CR-077


AUBREY S.SUZUKI



                                     PLEA AGREEMENT

         The United States Attomey hereby proposes to the Court a plea agreement to be filed in

this cause under Rule I l(c) of the Federal Rules of Criminal Procedure. Defendant has read and

fully understands this plea agreement and approves same, realizing that the plea agreement is

subject to acceptance or rejection by the   Court.   The plea agreement is as follows:


         1.      GUILTY PLEA: The defendant agrees to plead guilty under oath to Cormt Three

of the Indictment, which charges that the defendan! AUBREY S. SUZIJKI, did knowingly and

intentionally tansmit a communication in interstate coilrmerce containing a threat to injure the

person   of   another, intending the message   to be a threat and with the lnowledge that      the

communication would be viewed as a threat, in violation of Title 18, United States Code, Section

875(c) which ca:ries maximum possible penalties ofnot more than 5 years imprisonment, not more

than 3 years supervised release, not more than $250,000 fine, and a special assessment of $100.


         2.      OTHER CHARGES: The United States agrees not to charge the defendant with

any other offenses arising from or related to the above charge and dismiss all other counts of the

Indictment upon conclusion of sentencing on Count Three.
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        3.      RESTITUTION: The defendant understands that the Court may order restitution

in accordance with the provisions of 18 U.S.C. Section 3663 for all offenses committed and

specifically agrees that restitution is not limited to the count of conviction.


       4.      OTHER AUTHORITIES: This agreement does not bind any prosecuting

authority of any state or any other federal district, nor does it bind the Attomey General of the

United States with regard to any matter, criminal or civil, involving federal tax laws. Nor does

this agreement bind the United States or any of its derparunents or agencies with regard to any     civil

or administrative actions or remedies.


       5.      VIOLATIONS OF THIS AGREEMENT: If defendant violates this agreement, all

statements made pursuant hereto     will be admissible   against defendan! who hereby waives the

provisions of Rule I l(f) of the Federal Rules of Criminal Procedure and Rule 410 of the Federal

Rules of Evidence. Defendant may also, in that event, be prosecuted for all federal offenses,

including perjury and false statements relating to this plea agreement.


       6.      ACKNOWLEDGMENTS: Apart from being advised of the applicability of the

U.S. Sentencing Guidelines, and other than as set forth elsewhere in the plea documents, no

promise or representation whatsoever has been made to defendant      as   to what punishmsal ths Court

might impose if    it   accepts the plea   of guilty. This agreement fully reflects all     promises,

agreements, and understandings between the defendant and the United States         Attomey.   The
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defendant's agreeme,ff is knowing, freo, and voluntary, and not the product of force,   tlrea! or
coercion. The defendant is pleading guilty because defendant is in fact guilty.

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                                                    Mississippi Bar No. 10316


AGREED AND CONSENTBD TO:                          APPROYED:




Defendant                                         Attorney for Defendant
                                                  BarNo. ? 7        {
